10-50501-cag Doc#1580 Filed 03/13/12 Entered 03/13/12 17:07:30 Main Document Pg 1
                                      of 10
10-50501-cag Doc#1580 Filed 03/13/12 Entered 03/13/12 17:07:30 Main Document Pg 2
                                      of 10
10-50501-cag Doc#1580 Filed 03/13/12 Entered 03/13/12 17:07:30 Main Document Pg 3
                                      of 10
10-50501-cag Doc#1580 Filed 03/13/12 Entered 03/13/12 17:07:30 Main Document Pg 4
                                      of 10
10-50501-cag Doc#1580 Filed 03/13/12 Entered 03/13/12 17:07:30 Main Document Pg 5
                                      of 10
10-50501-cag Doc#1580 Filed 03/13/12 Entered 03/13/12 17:07:30 Main Document Pg 6
                                      of 10
10-50501-cag Doc#1580 Filed 03/13/12 Entered 03/13/12 17:07:30 Main Document Pg 7
                                      of 10
10-50501-cag Doc#1580 Filed 03/13/12 Entered 03/13/12 17:07:30 Main Document Pg 8
                                      of 10
10-50501-cag Doc#1580 Filed 03/13/12 Entered 03/13/12 17:07:30 Main Document Pg 9
                                      of 10
10-50501-cag Doc#1580 Filed 03/13/12 Entered 03/13/12 17:07:30 Main Document Pg 10
                                      of 10
